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                          UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

 BRYAN K. BRADDOCK,
                                                   Case No. 4:19-cv-01545
       Plaintiff,
 v.                                                Honorable Judge Sim Lake

 JUST ENERGY GROUP, INC. d/b/a JUST
 ENERGY TEXAS, L.P.,

      Defendant.


              AGREED STIPULATION OF DISMISSAL WITH PREJUDICE

       IT IS HEREBY STIPULATED AND AGREED by and between the Plaintiff BRYAN K.

BRADDOCK, and the Defendant, JUST ENERGY GROUP, INC. d/b/a JUST ENERGY TEXAS,

L.P, through their respective counsel that the above-captioned action is dismissed, with prejudice,

against JUST ENERGY GROUP, INC. d/b/a JUST ENERGY TEXAS, L.P, pursuant to settlement

and Federal Rule of Civil Procedure 41. Each party shall bear its own costs and attorney fees.

Dated: September 26, 2019                             Respectfully Submitted,

BRYAN K. BRADDOCK                                    JUST ENERGY GROUP, INC.

/s/ Taxiarchis Hatzidimitriadis                      /s/ Joshua Thomas (with consent)
Taxiarchis Hatzidimitriadis                          Joshua Thomas
Counsel for Plaintiff                                Counsel for Defendant
Sulaiman Law Group, LTD                              Baker & Hostetler, LLP
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                                  CERTIFICATE OF SERVICE

          I hereby certify that I today caused a copy of the foregoing document to be electronically

filed with the Clerk of Court using the CM/ECF system which will be sent to all attorneys of

record.



                                                              s/ Taxiarchis Hatzidimitriadis_____
                                                              Taxiarchis Hatzidimitriadis
